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                            UNITED STATES DISTRICT COURT                                  10/26/2020
                            WESTERN DISTRICT OF VIRGINIA
                                       LYNCHBURG DIVISION


   TERESA MOREY,
                                                             CASE NO. 6:19-cv-00024
                                       Plaintiff,

                             v.                              ORDER

   AVANTE AT LYNCHBURG., et al.,
                                                             JUDGE NORMAN K. MOON
                                      Defendants.



        Plaintiff Teresa Morey has filed a stipulation of dismissal pursuant to Federal Rule of Civil

 Procedure 41(a)(1)(A)(ii) advising that the parties agree that this action shall be dismissed with

 prejudice. Dkt. 74. Accordingly, by agreement of the parties, the Court hereby ORDERS that this

 action is DISMISSED WITH PREJUDICE as to all claims and parties, with each party bearing

 its own attorney’s fees and costs.

        The Clerk of Court is DIRECTED to STRIKE this case from the Court’s active docket.

        It is so ORDERED.

        The Clerk of Court is directed to send a copy of this Order to all counsel of record.
                      26th
        Entered this _______ day of October, 2020.




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